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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

  UNITED STATES OF AMERICA,                              3:17-cr-00248-BR

                 v.                                      NOTICE OF FORFEITURE

  ARTURO AISPURO,

                 Defendant.

       NOTICE IS HEREBY GIVEN that on June 12, 2018 in the above-captioned case, the

United States District Court for the District of Oregon entered a Preliminary Order of Forfeiture

and Final Order of Forfeiture as to Defendant Arturo Aispuro, forfeiting the following property

to the United States of America:

       1. GSG .22LR caliber HV semi-automatic rifle, model GSG-522P;
       2. Charles Daly 12 gauge shotgun, model Field;
       3. Savage Arms Inc. .22 caliber rifle, Mark II;
       4. Savage Arms Inc. 30-06 caliber rifle, model 111;
       5. Serbian origin 7.62x39mm caliber rifle, model PAP;
       6. Winchester 20GA shotgun, model 1400 MK II;
       7. Chinese origin 7.62x39mm caliber rifle, model SKS;
       8. Norinco 7.62x39mm caliber rifle;
       9. Romarm/Cugir 7.62x39mm caliber rifle, model WASR-10;
       10. Palmetto State Armory multi caliber rifle, model PA-15;
       11. Hi Point Firearms 9xl9mm caliber rifle, model 995;
       12. I.O. Inc. 7.62x39mm caliber rifle, model Sporter;
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        13. Sun City Machinery Co Ltd in P.R.C. 12 gauge shotgun, model Stevens 320;
        14. Sun City Machinery Co Ltd in P.R.C., 12 gauge shotgun, model Stevens 320;
        15. Japanese origin 7mm caliber rifle, model A-Bolt;
        16. Hatsan Arms Co. 12 gauge shotgun, model Escort;
        17. Glock .40 caliber pistol, model 22;
        18. Lorcin .380 caliber pistol, model L380;
        19. Glock .357 caliber pistol, model 31;
        20. Amadeo Rossi S.A. .357 caliber revolver, model M677;
        21. H&R Inc. .22 caliber revolver, model 949;
        22. All ammunition associated with this case.

        YOU ARE HEREBY NOTIFIED that the United States intends to dispose of this

property in such manner as the Attorney General may direct.

        Pursuant to 21 U.S.C. ' 853(n)(1), the United States shall publish on the official

government internet site, www.forfeiture.gov notice of this order, notice of the government’s

intent to dispose of the property in such manner as the United States Treasury may direct, and

notice that any person, other than the defendant, having or claiming a legal interest in any of the

above-listed forfeited property must file a petition with the court within thirty (30) days of the

final publication of notice or of receipt of actual notice, whichever is earlier. You must petition

the United States District Court for the District of Oregon, 1000 SW 3rd Avenue, Suite 740,

Portland Oregon 97204 for a hearing to adjudicate the validity of your alleged legal interest in

this property. If a hearing is requested, it shall be held before the Court alone, without a jury.

        The petition must be signed by the petitioner under penalty of perjury, and shall set forth

the nature and extent of the petitioner's right, title, or interest in each of the forfeited properties

and any additional facts supporting the petitioner's claim and the relief sought. The United States

may also, to the extent practicable, provide direct written notice to any person known to have

alleged an interest in property that is the subject of this Preliminary Order of Forfeiture, as a

substitute for published notice as to those persons so notified. A copy of the petition should be


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served on Assistant United States Attorney Amy Potter, 1000 SW Third Avenue, Suite 600,

Portland OR 97204.

        Pursuant to Title 21, United States Code, Section 853(n)(2), NEITHER A DEFENDANT

IN THE ABOVE-STYLED CASE NOR HIS/HER AGENT IS ENTITLED TO FILE A

PETITION.

        ANY HEARING on your petition shall, to the extent practicable and consistent with the

interests of justice, be held within thirty (30) days of the filing of your petition. The Court may

consolidate your hearing on the petition with any other hearings requested on any other petitions

filed by any other person other than the defendant named above.

        YOU HAVE THE RIGHT at the hearing to testify and present evidence and witnesses on

your own behalf and cross-examine witnesses who appear at the hearing. The United States may

present evidence and witnesses in rebuttal and in defense of its claim to the property and cross-

examine witnesses who appear at the hearing. In addition to testimony and evidence presented at

the hearing, the Court shall consider the relevant portions of the record of the criminal cases

which resulted in the Preliminary Order of Forfeiture.

        If, after the hearing, the Court determines that the petitioner has established by a

preponderance of the evidence that: (a) the petitioner has a legal right, title, or interest in the

property, and such right, title, or interest renders the Preliminary Order of Forfeiture invalid in

whole or in part because the right, title, or interest was vested in the petitioner rather than the

defendant or was superior to any right, title or interest of the defendant at the time of the

commission of the acts which gave rise to the forfeiture of the property; or (b) the petitioner is a

bona fide purchaser for value of the right, title, or interest in the property and was at the time of



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purchase reasonably without cause to believe that the property was subject to forfeiture, the

Court shall amend the Preliminary Order of Forfeiture in accordance with its determination.

       IF YOU FAIL TO FILE A PETITION TO ASSERT YOUR RIGHT, TITLE OR

INTEREST IN THE ABOVE-DESCRIBED PROPERTY WITHIN THIRTY (30) DAYS OF

THIS NOTICE, YOUR RIGHT, TITLE, AND INTEREST IN THIS PROPERTY SHALL BE

LOST AND FORFEITED TO THE UNITED STATES OF AMERICA.

DATED: September 6, 2018                             Respectfully submitted,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney

                                                     s/ Amy E. Potter
                                                     AMY E. POTTER
                                                     Assistant United States Attorney




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have made service of the foregoing NOTICE on the persons

listed below by causing to be deposited in the United States mail at Portland, Oregon, on

September 6, 2018, certified, return receipt requested, a true copy thereof in an envelope with

postage thereon prepaid, addressed to:

       Kathleen Bodda                                       Bradlee Peet
       4173 Market Street NE, Apt. G                        3545 Willow Drive, Apt 83
       Salem, OR 97301                                      Plove, WI 5467

       Thomas Gibson                                        Jesse Perez-Garcia
       127 Hillside Drive                                   193 47th Avenue
       Otis, OR 97368                                       Salem, OR 97317

       Larry Hines                                          Lance Scott
       310 W. B Street                                      196 12th Street
       Lebanon, OR 97355                                    Jefferson, OR 97352

       Valerie Johnson                                      Tighe Shawhan
       227 Rockledge Drive, Apt. 101                        35384 Dickey Prairie Road S
       Rockledge, FL 32955                                  Molalla, OR 97038

       Andrew Kelly                                         The Estate of William Soderwall
       868 Shenandoah Drive SE                              P.O. Box 342
       Salem, OR 97317                                      Richland, OR 97870

       Heath Linn                                           Derek Trombla
       801 E Minnesota Street, Apt. 202                     803 SE Excel Court
       Rapid City, SD 57701                                 Sheridan, OR 97378

       Marc Lloyd                                           John Weigel
       26615 Berg Drive                                     1045 Zittrouer Road
       Monroe, OR 97456                                     Guyton, GA 31312

       Jonathan Lowery                                      Jeffrey Wilent
       3501 County Road 317                                 38850 Pleasant Street
       Moulton, AL 35650                                    Sandy OR 97055

       Oscar Ochoa
       790 N. River Bend Road
       Otis, OR 97368

                                                     s/ Holly Taglier
                                                     HOLLY TAGLIER
                                                     Paralegal
